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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO.: 1:24-cv-24809-RKA

     JOHN DOE,
                                      Plaintiff,
          vs.

     THE INDIVIDUALS, PARTNERSHIPS AND
     UNINCORPORATED ASSOCIATIONS
     IDENTIFIED ON SCHEDULE “A”,

                                       Defendants.



                                PLAINTIFF’S CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that on or about December 31, 2024, service of process was

     effectuated on the Defendants listed on Schedule “A”, (1) through email; and (2) via website

     publication by posting a copy of the Complaint, Summonses, and all other relevant filings on a

     designated webpage; and by providing the designated webpage to Defendant through email to

     Defendants, pursuant to the Order Authorizing Alternate Service of Process (DE 14). See

     Declaration of Reiner, attached hereto as Exhibit “A.”

                Notice of the preliminary injunction hearing was also provided to the above Defendants. Id.

     DATED: January 17, 2025                            Respectfully Submitted,

                                                        REINER & REINER, P.A.
                                                        Counsel for Plaintiff
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                                                        By: ________________________________
                                                         DAVID P. REINER, II, ESQ.; FBN 416400



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